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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                          :          CASE NO. 20-71598-WLH
                                                :
NICOLE RENEE PAINTER,                           :          CHAPTER 7
                                                :
         Debtor.                                :
                                                :

                                 CERTIFICATE OF SERVICE

        This is to certify that I, Michael J. Bargar, am over the age of 18, and that on December
28, 2021, I caused to be served true and correct copies of the NOTICE OF MOTION FOR
ORDER AUTHORIZING SETTLEMENT WITH DEBTOR UNDER RULE 9019 OF THE
FEDERAL RULES OF BANKRUPTCY PROCEDURE; DEADLINE TO OBJECT; AND FOR
HEARING [Doc. No. 27] (the “Notice”) by first class United States mail or electronic mail, as
indicated, on the following persons or entities at the addresses stated:

Office of the U.S. Trustee                          Craig Zander Black
362 Richard B. Russell Federal Building             The Craig Black Law Firm, LLC
75 Ted Turner Drive SW                              Suite 200
Atlanta, GA 30303                                   5555 Glenridge Connector NE
                                                    Atlanta, GA 30342
S. Gregory Hays
Hays Financial Consulting, LLC                      Nicole Renee Painter
Suite 555                                           384 Eagle Tiff Drive
2964 Peachtree Road NW                              Sugar Hill, GA 30518
Atlanta, GA 30305-2153

        This is to certify further that on December 28, 2021, I, Michael J. Bargar, caused to be
served copies of the Notice by first class United States Mail, postage prepaid, on all of those
entities set forth on Exhibit “A” at the addresses stated.

         This 28th day of December, 2021.

                                            ARNALL GOLDEN GREGORY LLP
                                            Attorneys for Trustee

                                            By: /s/ Michael J. Bargar
                                                 Michael J. Bargar
171 17th Street NW, Suite 2100                   GA Bar No. 645709
Atlanta, Georgia 30363-1031                     michael.bargar@agg.com
(404) 873-7030


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                             EXHIBIT “A” FOLLOWS




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